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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
  MERCIS B.V.,

           Plaintiff,                           Case No.: 1:19-cv-2058

      v.                                        Judge Robert W. Gettleman

  THE PARTNERSHIPS AND                          Magistrate Judge Sheila M. Finnegan
  UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON
  SCHEDULE “A”,

           Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on June 27, 2019 [46] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                   NO.                                 DEFENDANT
                   273                                    che Store
                   418                               Hogar Paradise Store


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: October 1, 2019                             Respectfully submitted,




                                                       ling Jiang
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                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 1st day of October, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
